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                   IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF ALASKA

 STATE OF ALASKA, DEPARTMENT                  )
 OF FISH AND GAME,                            )
                                              )   Case No.: 3:20-cv-00195-SLG
               Plaintiff,                     )
                                              )
 v.                                           )         STATE OF ALASKA’S
                                              )      NOTICE OF SUPPLEMENTAL
 FEDERAL SUBSISTENCE BOARD,                   )            AUTHORITY
 et al.,                                      )
                                              )
               Defendants,                    )
 and                                          )
                                              )
 ORGANIZED VILLAGE OF KAKE,                   )
                                              )
               Intervenor-Defendant.          )

       The State of Alaska files this Notice of Supplemental Authority under

Local Civ. R. 7.1(d)(1) to bring this court’s attention to two decisions of the

United States Supreme Court issued since the time the parties filed briefs in this

litigation. Both decisions address the “major questions doctrine,” affirming the




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State’s position that a federal agency has only those powers given by Congress in

enabling legislation.

       The relevant Supreme Court decisions are West Virginia v. E.P.A., 142 S.Ct 2587

(2022) and Nat’l Fed’n of Indep. Bus. v. Dep’t of Labor, OSHA, 142 S.Ct. 661 (2022).

       These cases pertain to Alaska’s Opening Brief, ECF 49 at 8, 11-15, 26-39, and

Reply Brief at ECF 62 at 7-19.



       DATED: March 29, 2023.

                                         TREG TAYLOR
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                                         By:    /s/ Cheryl R. Brooking
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                            CERTIFICATE OF SERVICE

       I certify that on March 29, 2023, I caused the foregoing document to be

electronically filed with the Clerk of Court using the CM/ECF system, which will serve

all counsel of record.


                                         /s/ Leilani J. Tufaga
                                         Leilani J. Tufaga, Law Office Assistant III




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